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                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION

  UNITED STATES OF AMERICA,

                   Plaintiff,
                                             Case No. 15-20652
  vs.                                        HON. GEORGE CARAM STEEH

  D13 ARLANDIS SHY,

                Defendant.
  ___________________________________/

                  OPINION AND ORDER DENYING
          DEFENDANT’S MOTION FOR NEW TRIAL [ECF NO. 1190]

        From June 5 to August 27, 2018, defendant Arlandis Shy was tried by

  a jury in this court along with co-defendants Eugene Fisher, Robert Brown,

  Keithon Porter and Corey Bailey. On August 27, 2018, the jury convicted

  Shy of Count One RICO conspiracy and Count Thirty Two possession of a

  firearm in furtherance of a crime of violence. Shy was charged with several

  counts of murder and attempted murder in aid of racketeering, but he was

  found not guilty of those charges. As part of a special verdict form related

  to the RICO conspiracy charge, the jury found that, “between July 14, 2014

  through September 26, 2015, [Shy] conspired with another conspirator to

  assault rival gang members with intent to commit murder.” (ECF No. 1168,

  Verdict Form, Special Interrogatory No. 1) This finding increases the

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  statutory maximum sentence from 20 years to life. 18 U.S.C. § 1963(a).

  The jury determined that the murder and attempted murder sentencing

  factors in Special Interrogatories 2 and 3 were not proven as to Shy.

        On September 9, 2018, defendant Shy filed a motion for new trial due

  to an inconsistent verdict. Specifically, Shy argues that Special

  Interrogatory No. 1 was “overbroad and vague, allowing the jury to find him

  guilty based on non-criminal conduct without identifying a specific fact,

  date, victim, location, or event that made him guilty for the RICO count but

  not guilty for the underlying substantive offenses.”

                               I. Legal Standard

        A court may vacate any judgment and grant a new trial “if the interest

  of justice so requires.” Fed. R. Crim. P. 33. Court have granted a new trial

  where “(i) the jury verdict was against the manifest weight of the evidence

  or (ii) substantial legal errors or omissions occurred.” United States v.

  Munoz, 605 F.3d 359, 373-74 (6th Cir. 2010).

        “It is fundamental Constitutional law that no one may be convicted of

  a crime absent proof beyond a reasonable doubt of every fact necessary to

  constitute that crime.” Glenn v. Dallman, 686 F.2d 418, 420-21 (6th Cir.

  1982) (citation omitted).



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                                  II. Discussion

        Defendant makes the argument that “the jury’s inconsistent verdict

  was evident in their finding that Shy was not guilty, as a principal or aider

  and abettor, of murder or attempted murder, but the jury did find him guilty

  for the RICO count because he was guilty for conspiring with another

  conspirator to assault rival gang members with intent to commit murder.”

  Similarly, the jury found Shy not guilt of using or carrying a firearm during

  and in relation to a crime of violence but found him guilty of possessing a

  firearm in furtherance of a crime of violence in Count Thirty-Two.

  According to Shy, the inconsistent verdict shows the jury’s confusion and

  the inadequacy of the jury instructions and verdict form and support his

  request for a new trial.

        As the government points out, the jury’s findings on the special

  sentencing factors in Interrogatory No. 1, relating to assault, are

  independent and unrelated to its finding on the RICO conspiracy count.

  The purpose of the special sentencing factors in the verdict form was to

  determine the maximum sentence if defendant was found guilty of RICO

  conspiracy. Before reaching the special sentencing factors, the jury was

  first required to determine whether Shy was guilty of RICO conspiracy.

  That is, the jury did not find Shy guilty of RICO conspiracy because he was


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  guilty of conspiring with another to assault rival gang members. Rather, the

  jury was first directed to determine whether Shy was guilty of each element

  of RICO conspiracy before being asked to evaluate whether that violation

  was also based on certain conduct as outlined in the special

  interrogatories.

        The jury instructions and verdict form adequately advised the jury

  regarding the finding that Shy had committed a predicate act that would

  satisfy Apprendi v. New Jersey, 530 U.S. 466, 490 (2000). See 18 U.S.C.

  § 1963(a). The instructions informed the jury of the Michigan statutes

  forming the basis of the racketeering act, as well as the legal definitions of

  assault with intent to murder and conspiracy. Special Interrogatory No. 1

  outlined the type of racketeering activity at issue, including a date range,

  the targets of the assault conspiracy, and the members of the conspiracy.

        Next, the racketeering charge was a conspiracy – RICO conspiracy –

  while the VICAR charges were substantive offenses. “A RICO conspiracy

  charge does not require proof that the defendant committed any predicate

  acts and does not even require proof that the defendant agreed to commit

  two predicate acts himself, or even that any overt acts have been

  committed.” United States v. Rios, 830 F.3d 403, 424 (6th Cir. 2016). In

  contrast, the VICAR charges required that the defendant commit, or aid


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  and abet in the commission of, the substantive violent crime. The jury

  could reasonably and properly conclude that even though Shy did not

  directly participate in the violent crimes outlined in the VICAR charges, he

  participated in the enterprise with the knowledge and intent that at least

  one member of the conspiracy would commit the requisite two racketeering

  acts.

          In this case, the underlying racketeering activity supporting the RICO

  conspiracy rested on conduct besides the violent crimes, specifically

  conspiracy to distribute and distribution of controlled substances. The jury

  reasonably could have found that Shy was guilty of RICO conspiracy based

  on his drug dealing, or the drug dealing of other SMB members. There was

  substantial evidence presented that Shy was involved in drug dealing in

  West Virginia on two occasions in 2009.

          The special interrogatories only pertained to those racketeering acts

  that could increase the statutory maximum from 20 years to life. They

  required a greater level of participation in the offense than is required for

  RICO conspiracy. The jury could reasonably have found that Shy

  participated in the enterprise with the knowledge and intent that at least

  one member of the conspiracy would commit the requisite two racketeering

  acts, but correspondingly find that Shy himself did not commit or cause to


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  be committed, or aid and abet in the commission of, the violent crimes set

  forth in Special Interrogatories 2 and 3.

        The jury’s verdict was internally consistent in that both the VICAR

  acquittals and Special Interrogatories 2 and 3 reflected Shy’s lack of

  personal involvement in the May 8th incident.

        Finally, the fact that the instructions did not require the jury to connect

  Shy’s possession of a firearm with a particular crime of violence is of no

  moment. The predicate crime of violence supporting Shy’s conviction for

  possession of a firearm in furtherance of a crime of violence was RICO

  conspiracy. It was not, as defendant argues, a particular racketeering act.

  The jury was properly instructed on these elements.

                                  III. Conclusion

        For the reasons stated above, defendant Shy’s motion for new trial is

  DENIED.

        IT IS SO ORDERED.

  Dated: January 8, 2019

                                       s/George Caram Steeh
                                       GEORGE CARAM STEEH
                                       UNITED STATES DISTRICT JUDGE




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                                 CERTIFICATE OF SERVICE

                  Copies of this Order were served upon attorneys of record on
                      January 8, 2019, by electronic and/or ordinary mail.

                                     s/Marcia Beauchemin
                                         Deputy Clerk




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